        Case 8:17-cv-01694-CJC-JPR Document 26 Filed 01/12/18 Page 1 of 3 Page ID #:122


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              10 Attorneys for Nominal Defendant
                 Quality Systems, Inc. and Defendants Craig
              11 A. Barbarosh, George H. Bristol, James C.
                 Malone, Peter M. Neupert, Morris Panner, D.
              12 Russell Pflueger, Steven T. Plochocki,
                 Sheldon Razin, Lance E. Rosenzweig, and
              13 Paul A. Holt
              14                        UNITED STATES DISTRICT COURT
              15                       CENTRAL DISTRICT OF CALIFORNIA
              16
              17 KUSUMAM KOSHY, derivatively on              Case No. 8:17-cv-01694-CJC-JPR
                 behalf of QUALITY SYSTEMS, INC.,
              18                                             Derivative Action
                             Plaintiff,
              19                                             DEFENDANTS’ AND NOMINAL
                    vs.                                      DEFENDANT’S NOTICE OF
              20                                             MOTION AND MOTION TO
                 CRAIG A. BARBAROSH, GEORGE H.               DISMISS VERIFIED
              21 BRISTOL, JAMES C. MALONE,                   SHAREHOLDER DERIVATIVE
                 PETER M. NEUPERT, MORRIS                    COMPLAINT
              22 PANNER, D. RUSSELL PFLUEGER,
                 STEVEN T. PLOCHOCKI, SHELDON                  Judge:   Hon. Cormac J. Carney
              23 RAZIN, LANCE E. ROSENZWEIG, and               Date:    April 16, 2018
                 PAUL A. HOLT,                                 Time:    1:30 p.m.
              24                                               Place:   Courtroom 9B
                             Defendants,
              25
                    -and-
              26                                             Oral Argument Requested
                 QUALITY SYSTEMS, INC.,
              27
                             Nominal Defendant.
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                                                                    DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
 ORANGE COUNTY
                                                                                     MOTION TO DISMISS
                                                                           Case No.: 8:17-cv-01694-CJC-JPR
            Case 8:17-cv-01694-CJC-JPR Document 26 Filed 01/12/18 Page 2 of 3 Page ID #:123


                       1                      NOTICE OF MOTION AND MOTION
                       2 ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                       3        PLEASE TAKE NOTICE that on April 16, 2018, at 1:30 p.m., or at such
                       4 later date and time as the Court may order, in the Courtroom of the Honorable
                       5 Cormac J. Carney, Courtroom 9B, United States District Court, Central District of
                       6 California, located at 411 West 4th Street, Santa Ana, California, nominal
                       7 defendant Quality Systems, Inc. (“QSI” or the “Company”), and defendants Craig
                       8 A. Barbarosh, George H. Bristol, James C. Malone, Peter M. Neupert, Morris
                       9 Panner, D. Russell Pflueger, Steven T. Plochocki, Sheldon Razin, Lance E.
                  10 Rosenzweig, and Paul A. Holt (collectively, “Defendants”) will and hereby do
                  11 move for an Order dismissing with prejudice plaintiff Kusumam Koshy’s
                  12 (“Plaintiff”) Verified Shareholder Derivative Complaint for Breach of Fiduciary
                  13 Duty, Abuse of Control, Unjust Enrichment, and Insider Selling dated September
                  14 28, 2017 (the “Complaint”). This Motion is made pursuant to the Federal Rule of
                  15 Civil Procedure 12(b)(6) on the ground that Plaintiff’s claims are untimely, and
                  16 pursuant to Federal Rule of Civil Procedure 23.1 for failure to make a pre-suit
                  17 demand on QSI’s Board of Directors or to adequately plead that the demand
                  18 requirement was excused.
                  19            This Motion is made following the conference of counsel pursuant to L.R.
                  20 7-3, which took place on November 17, 2017, and is based on this Notice of
                  21 Motion and Motion, the accompanying Memorandum of Points and Authorities,
                  22 Defendants’ Request for Judicial Notice, the Declaration of Andrew R. Gray and
                  23 exhibits thereto, the Complaint, the Court’s record in this matter, the arguments of
                  24 counsel, and other evidence that may be presented prior to the Court’s decision on
                  25 this Motion.
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1                                                                            DEFENDANTS’ NOTICE OF MOTION AND
    ATTORNEYS AT LAW
     ORANGE COUNTY
                                                                                              MOTION TO DISMISS
                                                                                    Case No.: 8:17-cv-01694-CJC-JPR
        Case 8:17-cv-01694-CJC-JPR Document 26 Filed 01/12/18 Page 3 of 3 Page ID #:124


                   1                                 Respectfully submitted,
                   2 Dated: January 12, 2017         LATHAM & WATKINS LLP
                   3                                 By: /s/ Andrew R. Gray
                                                       Andrew R. Gray
                   4
                                                     Attorneys for Nominal Defendant
                   5                                 Quality Systems, Inc. and Defendants
                                                     Craig A. Barbarosh, George H. Bristol,
                   6                                 James C. Malone, Peter M. Neupert,
                                                     Morris Panner, D. Russell Pflueger,
                   7                                 Steven T. Plochocki, Sheldon Razin,
                                                     Lance E. Rosenzweig, and Paul A. Holt
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                                                              DEFENDANTS’ NOTICE OF MOTION AND
ATTORNEYS AT LAW
 ORANGE COUNTY                                       2                         MOTION TO DISMISS
                                                                     Case No.: 8:17-cv-01694-CJC-JPR
